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                             UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                      WACO DIVISION


 JOSEPH VAN LOON et al.

             Plaintiffs,

           v.                                               Civil Action No. 6:22-cv-920

 DEPARTMENT OF TREASURY et al.,

             Defendants.



      DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION TO TRANSFER
       Defendants filed their motion to transfer this case to the Austin Division for three

straightforward reasons. See Defs.’ Mot., ECF No. 15. First, not a single party resides in Waco,

and the only Texas party resides within the Austin Division. Second, the Waco court carries a

significantly heavier per-judge caseload than the Austin Division.       And third, Austin has

existing facilities for the review and storage of classified information, while Waco does not.

Plaintiffs respond by explaining that they chose the Waco Division and promising that all

Plaintiffs and their counsel are happy to travel to Waco if necessary. See Pls.’ Opp., ECF No.

16.   But they do not rebut Defendants’ showing that Austin would be “clearly more

convenient” than Waco—or, indeed, provide any reason this case should be heard in Waco at

all. In re Volkswagen of Am., Inc., 545 F.3d 304, 315 (5th Cir. 2008) (en banc) (emphasis

added). The en banc Fifth Circuit has recognized that where “not a single relevant factor

favors the [plaintiff’s] chosen venue,” and the “only connection between th[e] case and the

[chosen district] is plaintiff’s choice to file there,” a case should be transferred to the more

convenient venue. Id. at 318. Here, that venue is Austin.

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       Plaintiffs note that this is an Administrative Procedure Act (APA) case that will be

“decided based on the administrative record,” Pls.’ Mot. at 2, and that any jurisdictional facts will

be provided by affidavit. But this case is still in its early stages—Defendants have no way of

knowing whether any forthcoming affidavits will be sufficient to demonstrate Plaintiffs’ standing.

What Defendants do know is that Plaintiff Joseph Van Loon lives in the Austin Division—

presumably along with any documents or effects that could ultimately be relevant. They also know

that Waco lacks a Secure Compartmentalized Information Facility (SCIF) where the Court may

view and store classified portions of the administrative record.1 Reviewing classified material will

likely be necessary to resolve Plaintiffs’ statutory and constitutional claims because the

administrative record, which memorializes the basis for OFAC’s determination that Tornado

Cash is a sanctioned entity, contains classified information.

       Plaintiffs also claim that the “median time for resolution of ‘Administrative’ cases in the

Waco Division is at least as low as in the Austin Division,” Pls.’ Mot. at 5 (citing Pls.’ Ex. A, ECF

No. 16-1), but fail to note that their own exhibit appears to show that only four APA cases have

been filed in the Waco Division2, while Austin has apparently handled dozens. See Pls.’ Ex. A.



1
  Plaintiffs’ motion argues that Defendants “conspicuously do not state that there is no
convenient way for the Court to view classified documents in Waco.” Pls. Mot. at 3.
Undersigned counsel has confirmed with the Department of Justice’s Litigation Security Group,
which is responsible for transmitting classified information from DOJ to the U.S. Courts, that
there is presently no convenient way for the Court to view and store classified documents in
Waco. The closest available SCIF facility is the FBI SCIF in Austin.
2
  Plaintiffs’ exhibit appears to be drawn from Thompson-Reuters’ litigation analytics tool. That
same source indicates that apparently only one of these four APA cases was resolved on the
merits. See Order, ECF No. 33, Shipper v. Price, No. 6:17-cv-253 (W.D. Tex. March 1, 2019)
(adopting report and recommendations on summary judgment motions). Of the other three, one
of them remains pending, one was voluntarily dismissed, and one was dismissed for want of
jurisdiction. See Childrens’ Health Def. et al. v. FDA, 6:22-cv-93 (W.D. Tex.) (motion to
dismiss fully briefed as of Sept. 16, 2022); Notice of Voluntary Dismissal, ECF No. 14, Texans
Against High-Speed Rail, Inc. v. U.S. Dep’t of Transp., No. 6:21-cv-365 (W.D. Tex. Aug. 18
                                                 2
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This small Waco sample size does not demonstrate anything useful about the typical time to

resolve such cases. The fact remains that, in 2021, the per-judge civil caseload in Waco was nearly

six times higher than in Austin. See Defs.’ Mot. at 3. It would therefore benefit judicial economy

for this case to be heard in Austin.

       For these reasons, Austin is clearly the more convenient forum for this case. Defendants

respectfully request that the case be transferred to the Austin Division.

 Dated: October 28, 2022                             Respectfully Submitted,

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2021); Text Order, Watson v. USA, No. 6:18-cv-272 (W.D. Tex. Feb. 5, 2019) (denying motion
for reconsideration of order adopting report and recommendation granting motion to dismiss for
want of jurisdiction).
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